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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:

Tom Alex Thompson, Jr.,                               Case No.: 17-64990-WLH
                                                      Chapter: 13
         Debtor.
                                                  /

                               LIMITED RESPONSE TO
                          MOTION TO APPROVE SALE OF REAL
                                    PROPERTY

         Lakeview Loan Servicing, LLC (the “Secured Creditor”), by and through undersigned

counsel, responds to the Motion to Approve Sale of Real Property (the “Motion”) (Doc. No. 73)

and in support thereof, Secured Creditor states as follows:

         1.    This case was commenced by the filing of a voluntary Chapter 13 petition on

August 28, 2017.

         2.    Secured Creditor holds a mortgage lien against the Debtor's property located at

3110 Clearwater Drive, Douglasville, Georgia 30135 (the “Property”).

         3.    Secured Creditor filed Proof of Claim # 8 with a total debt in the amount of

$73,855.71.

         4.    The Debtor’s confirmed Chapter 13 Plan (Doc. No. 34) provided for the Property

to be treated outside and/or direct.

         5.    The Debtor is seeking authority to sell the Property

         6.    Creditor holds the first lien on the real property that is the subject matter of this

Motion. Creditor is not opposed to Debtor’s Motion to Sell the property provided that the

mortgage lien is paid in full at closing of the sale pursuant to a contemporaneous payoff

statement secured at the time of closing and that any sale short of full payoff will be subject to
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Lakeview Loan Servicing, LLC’s final approval prior to closing of the sale.

       7.      Debtor’s Motion provides that Debtor intends to sell the property to the brother of

the Debtor’s former spouse for $80,000.00. The approximate balance of the Creditor’s lien is

$78,389.54.

       8.      Secured Creditor reserves the right to supplement and/or amend this Response.

      WHEREFORE, the Secured Creditor requests that the Court enter an Order permitting the

Motion to Sell Real Property with the additional language requested by Secured Creditor, and for

such other and further relief as the Court deems just and proper.



                                              McCalla Raymer Leibert Pierce, LLC

                              By:             /s/John D. Schlotter
                                              John D. Schlotter
                                              GEORGIA BAR NO. 629456
                                              Attorney for Movant
                                              McCalla Raymer Leibert Pierce, LLC
                                              1544 Old Alabama Road
                                              Roswell, Georgia 30076
                                              Phone: 678-281-6453
                                              John.Schlotter@mccalla.com
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In re:

Tom Alex Thompson, Jr.,                                Case No.: 17-64990-WLH
                                                       Chapter: 13
         Debtor.
                                                  /

                                 CERTIFICATE OF SERVICE

      I, John D. Schlotter, of MCCALLA RAYMER PIERCE, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

         That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I served a copy of the within LIMITED RESPONSE TO
MOTION TO APPROVE SALE OF REAL PROPERTY filed in this bankruptcy matter on the
following parties at the addresses shown, by regular United States Mail, with proper postage
affixed, unless another manner of service is expressly indicated:

Tom Alex Thompson, Jr.
10204 Cavalier Xing
Lithonia, GA 30038

Howard P. Slomka                              (served via ECF Notification)
Slipakoff & Slomka, PC
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339

Nancy J. Whaley, Trustee                      (served via ECF Notification)
Suite 120, Suntrust Garden Plaza
303 Peachtree Center Avenue
Atlanta, GA 30303



I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Executed on:       4/22/2020       By:    /s/John D. Schlotter
                       (date)             John D. Schlotter
                                          GEORGIA BAR NO. 629456
                                          Attorney for Movant
